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                          EXHIBIT 1
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                                                19.3.2020                                  13.2.2020                                 12.2.2020


                                                New 5G Nokia smartphone                    Nokia phones win six                      HMD Global - The Home of
                                                unveiled as portfolio                      accolades at iF DESIGN™                   Nokia Phones cancels
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                                                5.12.2019                                  18.11.2019                                5.9.2019


                                                Next generation Nokia 2.3                  HMD Global’s Nokia 7.2                       New Nokia phones
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